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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   NEWPORT NEWS DIVISION



UNITED STATES OF AMERICA                      )
ex rel HOANG CAM NGUYEN,                      )
                                              )
       Plaintiff,                             )
                                              )       Civil No. 4:24-CV-5
V.                                            )
                                              )       FILED UNDER SEAL AND EX PARTE
HEATHER McDONALD,                             )       PURSUANT TO 31 U.S.C. § 3730(b)
DAVID BITONTI, and                            )
JOHN “JACK” MARTIN,                           )
                                              )
       Defendants.                            )


 UNITED STATES’ RESPONSE TO RELATOR’S MOTION TO VOLUNTARILY DISMISS
                     AND THE GOVERNMENT’S REQUEST TO UNSEAL

       Relator filed a Motion to Voluntarily Dismiss this action,    Plaintiff United States files


this response to Relator’s Motion.

       Pursuant to the False Claims Act, 31 U.S.C. § 3730(b)(1), the United States hereby

notifies the Court that the Attorney General of the United States consents to the dismissal of this

action without prejudice to the rights of the United States, based on the determination that such a

dismissal is commensurate with the public interest and that the matter does not warrant the

continued expenditure of government resources to pursue or monitor the action based on

currently available information.

       Further, the United States respectfully requests the relator’s Complaint, Amended

Complaint, this Response, and the attached proposed Order be unsealed.       We request that all

other papers on file in this action remain under seal because in discussing the content and extent

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of the United States’ investigation, such paper are provided by law to the Court alone for the sole

purpose of evaluating whether the seal and time for making an election to intervene should be

extended.


       A proposed order is attached.


                                             Respectfully submitted,

                                             JESSICA D. ABER
                                             United States Attorney

                                       By:

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